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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------------X
 KATHLEEN ASHTON, Individually, as surviving                                   03 MDL 1570 (GBD)(SN)
 Parent, and Personal Representative of the Estate of
 THOMAS ASHTON Deceased;                                                       Civil Case No. 1:17-cv-02003
 JOHN ASHTON, as surviving Parent of THOMAS
 ASHTON, Deceased;
 MARY BUCKLEY, as surviving Sibling of THOMAS                                  FIRST AMENDED
 ASHTON, Deceased;                                                             CONSOLIDATED COMPLAINT
 COLLEEN AMATO, as surviving Sibling of THOMAS
 ASHTON, Deceased;
                                                                               Kreindler & Kreindler LLP
 LORRAINE ABAD, Individually, as surviving Spouse,
 and Personal Representative of the Estate of EDELMIRO
 ABAD, Deceased;
 REBECCA ABAD, as surviving Child of EDELMIRO
 ABAD, Deceased;

 GWYNETTA HURST ROSSI, Individually, as surviving
 Parent, and Personal Representative of the Estate of
 SHANNON L. ADAMS, Deceased;
 KYLE ADAMS-FLOYD, as surviving Sibling of
 SHANNON L. ADAMS, Deceased;
 MICHAEL J. ADAMS, as surviving Sibling of
 SHANNON L. ADAMS, Deceased;

 MARY E. ADDERLEY and TERENCE E. ADDERLEY,
 Individually, as surviving Parents, and Co-Personal
 Representatives of the Estate of TERENCE ADDERLEY,
 JR., Deceased;

 CARMEN AGNES, Individually, as surviving Parent, and
 Personal Representative of the Estate of DAVID AGNES,
 Deceased;

 MILTIADIS AHLADIOTIS, Individually, as surviving
 Parent, and Personal Representative of the Estate of
 JOANNE AHLADIOTIS, Deceased;
 EFFIE AHLADIOTIS-SALLOUM, as surviving Sibling
 of JOANNE AHLADIOTIS, Deceased;

 KIM TRIMINGHAM-AIKEN, Individually, as surviving
 Spouse, and Personal Representative of the Estate of
 TERRANCE AIKEN, Deceased;




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TERREASE AIKEN, as surviving Child of TERRANCE
AIKEN, Deceased;

DONNA L. ALBERT, Individually, as surviving Spouse,
and Personal Representative of the Estate of JON L.
ALBERT, Deceased;
STEPHEN L. ALBERT, as surviving Child of JON L.
ALBERT, Deceased;
DAVID L. ALBERT, as surviving Child of JON L.
ALBERT, Deceased;

JOSEPHINE ALGER, Individually, as surviving Spouse,
and Co-Personal Representative of the Estate of DAVID
D. ALGER, Deceased;
FREDERICK M. ALGER, III, Individually, as surviving
Sibling, and Co-Personal Representative of the Estate of
DAVID D. ALGER, Deceased;
CRISTINA ALGER WANG, as surviving Child of
DAVID D. ALGER, Deceased;
ROXANA ALGER GEFFEN, as surviving Child of
DAVID D. ALGER, Deceased;

ANGELICA ALLEN, Individually, as surviving Spouse,
and Personal Representative of the Estate of ERIC
ALLEN, Deceased;
KATHLEEN ALLEN, as surviving Child of ERIC
ALLEN, Deceased;

EMILY AMARANTO YAREMBINSKY, Individually,
as surviving Child, and Personal Representative of the
Estate of ANGELO AMARANTO, Deceased;

DEBORAH AMATO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JAMES M.
AMATO, Deceased;

GEORGE ANDRUCKI and MARY ANDRUCKI,
Individually, as surviving Parents, and Co-Personal
Representatives of the Estate of JEAN ANDRUCKI,
Deceased;

ANNE ANGELINI, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOSEPH J.
ANGELINI, SR., Deceased;
MICHAEL P. ANGELINI, as surviving Child of JOSEPH
J. ANGELINI, SR., Deceased;



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ANNMARIE ANGELINI, as surviving Child of JOSEPH
J. ANGELINI, SR., Deceased;
MARY M. ANGELINI, as surviving Child of JOSEPH J.
ANGELINI, SR., Deceased;

PERRY ORETZKY, as Personal Representative of the
Estate of DAVID L. ANGELL, Deceased;

PERRY ORETZKY, as Personal Representative of the
Estate of MARY LYNN EDWARDS ANGELL,
Deceased;

KATHLEEN APOSTOL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
FAUSTINO APOSTOL, JR., Deceased;

ALEXANDER          and     WINIFRED      ARANYOS,
Individually, as surviving Parents, and Co-Personal
Representatives of the Estate of PATRICK ARANYOS,
Deceased;

MARGARET ARCE, Individually, as surviving Parent,
and Personal Representative of the Estate of DAVID
ARCE, Deceased;

VICKIE ARESTEGUI, Individually, as surviving Sibling,
and Personal Representative of the Estate of BARBARA
ARESTEGUI, Deceased;
ROSIE ARESTEGUI, as surviving Parent of BARBARA
ARESTEGUI, Deceased;
VITTORIO ARESTEGUI, as surviving Parent of
BARBARA ARESTEGUI, Deceased;
SHARON ARESTEGUI, as surviving Sibling of
BARBARA ARESTEGUI, Deceased;
KRISTEN ARESTEGUI, as surviving Sibling of
BARBARA ARESTEGUI, Deceased;
NANCY ARESTEGUI, as surviving Sibling of
BARBARA ARESTEGUI, Deceased;

MARGIT ARIAS, Individually, as surviving Spouse, and
Personal Representative of the Estate of ADAM P.
ARIAS, Deceased;

EVELYN ARON, Individually, as surviving Spouse, and
Personal Representative of the Estate of JACK C. ARON,
Deceased;



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TIMOTHY ARON, as surviving Child of JACK C.
ARON, Deceased;

MARIA ARYEE, Individually, as surviving Spouse, and
Personal Representative of the Estate of JAPHET
ARYEE, Deceased;

JOANN ATLAS, Individually, as surviving Spouse, and
Personal Representative of the Estate of GREGG A.
ATLAS, Deceased;

NANCY BADAGLIACCA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN BADAGLIACCA, Deceased;
GRACE BADAGLIACCA, as surviving Parent of JOHN
BADAGLIACCA, Deceased;
JOHN BADAGLIACCA, as surviving Parent of JOHN
BADAGLIACCA, Deceased;
JODIE SCOLARO, as surviving Sibling of JOHN
BADAGLIACCA, Deceased;

CHRISTINA BAKSH, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHAEL
BAKSH, Deceased;
AVA BAKSH, as surviving Child of MICHAEL BAKSH,
Deceased;
JAMES BAKSH, as surviving Child of MICHAEL
BAKSH, Deceased;

JOANNE BARBARA, Individually, as surviving Spouse,
and Personal Representative of the Estate of GERARD
BARBARA, Deceased;
PAUL BARBARA, as surviving Child of GERARD
BARBARA, Deceased;
CAREN VILLARREAL, as surviving Child of GERARD
BARBARA, Deceased;

MONICA BARBELLA, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JAMES W. BARBELLA, Deceased;
SARAH BARBELLA, as surviving Child of JAMES W.
BARBELLA, Deceased;
JAMES BARBELLA, as surviving Child of JAMES W.
BARBELLA, Deceased;
JOANN CASTRONOVO, as surviving Child of JAMES
W. BARBELLA, Deceased;



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RUTH BARBELLA, as surviving Parent of JAMES W.
BARBELLA, Deceased;
FRANK J. BARBELLA, as surviving Parent of JAMES
W. BARBELLA, Deceased;
MICHAEL BARBELLA, as surviving Sibling of JAMES
W. BARBELLA, Deceased;
THOMAS BARBELLA, as surviving Sibling of JAMES
W. BARBELLA, Deceased;
RUTH A. BARBELLA, as surviving Sibling of JAMES
W. BARBELLA, Deceased;
FRANK BARBELLA, as surviving Sibling of JAMES W.
BARBELLA, Deceased;

DIANNE M. WALSH, Individually, as surviving Sibling,
and Personal Representative of the Estate of CHRISTINE
BARBUTO, Deceased;
JEANNINE DALY, as surviving Sibling of CHRISTINE
BARBUTO, Deceased;

DANIEL F. BARKOW, Individually, as surviving
Spouse, and Personal Representative of the Estate of
COLLEEN BARKOW, Deceased;
CRYSTAL BARKOW, as surviving Stepchild of
COLLEEN BARKOW, Deceased;
KAYLA BARKOW, as surviving Stepchild of COLLEEN
BARKOW, Deceased;

JEANNINE P. BARON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
EVAN J. BARON, Deceased;
ETHAN BARON, as surviving Child of EVAN J.
BARON, Deceased;
JEANNINE P. BARON on behalf of J. B., minor,
surviving Child of EVAN J. BARON, Deceased;

JANE BARTELS, Individually, as surviving Spouse, and
Personal Representative of the Estate of CARLTON
BARTELS, Deceased;
MELINA BARTELS, as surviving Child of CARLTON
BARTELS, Deceased;

VLADIMIR BASIN, Individually, as surviving Spouse,
and Personal Representative of the Estate of INNA
BASINA, Deceased;
BORIS BASIN, as surviving Child of INNA BASIN,
Deceased;



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KEFIM KOGAN, as surviving Sibling of INNA BASIN,
Deceased;

ELAINE LEINUNG, Individually, as surviving Parent,
and Personal Representative of the Estate of PAUL
BATTAGLIA, Deceased;
ERIC J. LEINUNG, as surviving Sibling of PAUL
BATTAGLIA, Deceased;
JOHN M. LEINUNG, as surviving Stepparent of PAUL
BATTAGLIA, Deceased;

KIMBERLY K. BEAVEN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ALAN BEAVEN, Deceased;
DAHLIA BEAVEN, as surviving Child of ALAN
BEAVEN, Deceased;
JOHN BEAVEN, as surviving Child of ALAN BEAVEN,
Deceased;
MARGARET BUDDE, as surviving Sibling of ALAN
BEAVEN, Deceased;

MICHELE BEDIGIAN LAVARONE, Individually, as
surviving Spouse, and Personal Representative of the
Estate of CARL BEDIGIAN, Deceased;

ESTHER RODRIGUEZ, as Personal Representative of
the Estate of PETER BEIFELD, Deceased;
THERESA CLARNER, as surviving Partner of PETER
BEIFELD, Deceased;

LOWELL BELL, Individually, as surviving Parent, and
Personal Representative of the Estate of NINA P. BELL,
Deceased;
PATRICIA BELL, as surviving Parent of NINA P. BELL,
Deceased;
LOWELL F. BELL, as surviving Sibling of NINA P.
BELL, Deceased;
DEBORAH HARRISON, as surviving Sibling of NINA
P. BELL, Deceased;

JOSEPH BERARDI, Individually, as surviving Parent,
and Personal Representative of the Estate of DOMINICK
J. BERARDI, Deceased;
MARIA V. BERARDI, as surviving Parent of
DOMINICK J. BERARDI, Deceased;




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TINA M. BERARDI, as surviving Sibling of DOMINICK
J. BERARDI, Deceased;
NICHOLAS A. BERARDI, as surviving Sibling of
DOMINICK J. BERARDI, Deceased;

SUSAN BERGER, Individually, as surviving Spouse, and
Personal Representative of the Estate of STEVEN H.
BERGER, Deceased;
MELISSA BERGER, as surviving Child of STEVEN H.
BERGER, Deceased;

MADELINE BERGIN, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOHN
BERGIN, Deceased;
KATIE BERGIN, as surviving Child of JOHN BERGIN,
Deceased;
SHANNON BERGIN, as surviving Child of JOHN
BERGIN, Deceased;
JOHN BERGIN, as surviving Child of JOHN BERGIN,
Deceased;

LOURDES PEREZ-BERKELEY, Individually, as
surviving Spouse, and Personal Representative of the
Estate of MICHAEL J. BERKELEY, Deceased;

CHARLES BERKELEY and PAULINE BERKELEY,
Individually, as surviving Parents, and Co-Personal
Representatives of the Estate of GRAHAM A.
BERKELEY, Deceased;

PAULA BERRY, Individually, as surviving Spouse, and
Personal Representative of the Estate of DAVID S.
BERRY, Deceased;

VALERIE BETHKE, Individually, as surviving Spouse,
and Personal Representative of the Estate of WILLIAM R.
BETHKE, Deceased;

SIRAK BETRU, Individually, as surviving Sibling, and
Personal Representative of the Estate of YENENEH
BETRU, Deceased;

MIRIAM BIEGELEISEN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
SHIMMY D. BIEGELEISEN, Deceased;




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MORDECHAI BIEGELEISEN, as surviving Child of
SHIMMY D. BIEGELEISEN, Deceased;
ADINA GEWIREZMAN, as surviving Child of
SHIMMY D. BIEGELEISEN, Deceased;
DVORA ROTBERG, as surviving Child of SHIMMY D.
BIEGELEISEN, Deceased;
ISRAEL J. BIEGELEISEN, as surviving Child of
SHIMMY D. BIEGELEISEN, Deceased;
MOSHE J. BIEGELEISEN, as surviving Child of
SHIMMY D. BIEGELEISEN, Deceased;
ALAN BIEGELEISEN, as surviving Sibling of SHIMMY
D. BIEGELEISEN, Deceased;

CHRISTINE BINI, Individually, as surviving Spouse, and
Personal Representative of the Estate of CARL BINI,
Deceased;
STEFANIE PARISH, as surviving Child of CARL BINI,
Deceased;
DESIREE DIDONNA, as surviving Child of CARL BINI,
Deceased;

MARCEL BIRNBAUM, Individually, as surviving
Parent, and Personal Representative of the Estate of
JOSHUA BIRNBAUM, Deceased;
SAMUEL BIRNBAUM, as surviving Parent of JOSHUA
BIRNBAUM, Deceased;
JILLIAN EISMAN, as surviving Sibling of JOSHUA
BIRNBAUM, Deceased;

DEBORAH BLANDING, Individually, as surviving
Spouse, and Personal Representative of the Estate of
HARRY A. BLANDING, JR., Deceased;
DEBORAH BLANDING on behalf of B. B., minor,
surviving Child of HARRY A. BLANDING, JR.,
Deceased;

KRIS BLOOD, Individually, as surviving Spouse, and
Personal Representative of the Estate of RICHARD M.
BLOOD, JR., Deceased;
MICHAEL BLOOD, as surviving Child of RICHARD M.
BLOOD, JR., Deceased;
MADELINE BLOOD, as surviving Child of RICHARD
M. BLOOD, JR. Deceased;




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DOROTHY A. BOGDAN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
NICHOLAS BOGDAN, Deceased;
DOROTHY A. BOGDAN on behalf of E. B., minor,
surviving Child of NICHOLAS BOGDAN, Deceased;
NICHOLAS BOGDAN, as surviving Child of
NICHOLAS BOGDAN, Deceased;

MARIA BOISSEAU, Individually, as surviving Spouse,
and Personal Representative of the Estate of LAWRENCE
BOISSEAU, Deceased;

SHARON BOOKER, Individually, as surviving Spouse,
and Personal Representative of the Estate of SEAN
BOOKER, Deceased;

CYNTHIA LEWIS, Individually, as surviving Sibling,
and Personal Representative of the Estate of SHERRY
ANN BORDEAUX, Deceased;
CYNTHIA LEWIS, as Personal Representative of the
Estate of JERLINE LEWIS, Deceased, surviving Parent
of SHERRY ANN BORDEAUX, Deceased;
CYNTHIA LEWIS, as Personal Representative of the
Estate of STEVE LEWIS, Deceased, surviving Parent of
SHERRY ANN BORDEAUX, Deceased;

TRACI BOSCO-MYHAL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RICHARD EDWARD BOSCO, Deceased;
TRACI BOSCO-MYHAL on behalf of A. R. B., minor,
surviving Child of RICHARD EDWARD BOSCO,
Deceased;

FREDERICK BOWERS, JR., Individually, as surviving
Parent, and Personal Representative of the Estate of
KIMBERLY S. BOWERS, Deceased;

LINDA BOWMAN, Individually, as surviving Spouse,
and Personal Representative of the Estate of LARRY
BOWMAN, Deceased;

KATHLEEN BOX, Individually, as surviving Spouse,
and Personal Representative of the Estate of GARY BOX,
Deceased;




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JOLANTA BOYARSKY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
GENNADY BOYARSKY, Deceased;
MICHAEL BOYARSKY, as surviving Child of
GENNADY BOYARSKY, Deceased;
BEATA BOYARSKY, as surviving Sibling of
GENNADY BOYARSKY, Deceased;

JAMES J. BOYLE, Individually, as surviving Parent, and
Personal Representative of the Estate of MICHAEL
BOYLE, Deceased;

JEAN BRACA, Individually, as surviving Spouse, and
Personal Representative of the Estate of ALFRED
BRACA, Deceased;

DAVID E. BRACE, Individually, as surviving Spouse,
and Personal Representative of the Estate of SANDRA J.
CONATY-BRACE, Deceased;

PHILLIP G. BRADSHAW, Individually, as surviving
Spouse, and Personal Representative of the Estate of
SANDRA W. BRADSHAW, Deceased;

JENNIFER E. BRADY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DAVID B. BRADY, Deceased;
JENNIFER E. BRADY on behalf of G. A. B., minor,
surviving Child of DAVID B. BRADY, Deceased;

RANULFO GAMBOA and RENEE GAMBOA, as Co-
Personal Representatives of the Estate of DAVID REED
GAMBOA- BRANDHORST, Deceased;

MIA GONZALEZ, Individually, as surviving Child, and
Personal Representative of the Estate of
LYDIA E. BRAVO, Deceased;
LETICIA MUSZEL, as surviving Sibling of LYDIA E.
BRAVO, Deceased;
ALBERT BRAVO, as surviving Sibling of LYDIA E.
BRAVO, Deceased;

EDWARD BRENNAN, Individually, as surviving Parent,
and Personal Representative of the Estate of EDWARD A.
BRENNAN, III, Deceased;




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HILLARY A. BRILEY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JONATHAN E. BRILEY, Deceased;

URSULA BROGHAMMER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
HERMAN C. BROGHAMMER, Deceased;
JOHN C. BROGHAMMER, as surviving Child of
HERMAN C. BROGHAMMER, Deceased;
AMY B. STABILE, as surviving Child of HERMAN C.
BROGHAMMER, Deceased;

EDWARD RADBURN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
BETTINA BROWNE-RADBURN, Deceased;

DAWN BRYFOGLE, Individually, as surviving Spouse,
and Personal Representative of the Estate of MARK
BRUCE, Deceased;
DIANE BRUCE, as surviving Parent of MARK BRUCE,
Deceased;
STEPHEN BRUCE, as surviving Sibling of MARK
BRUCE, Deceased;
DAVID BRUCE, as surviving Sibling of MARK BRUCE,
Deceased;
DAVID BRUCE, as Personal Representative of the Estate
of HAROLD TRUMAN BRUCE, Deceased, surviving
Parent of MARK BRUCE;

JO ANNE BRUEHERT, Individually, as surviving
Spouse, and Personal Representative of the Estate of
RICHARD BRUEHERT, Deceased;
CHRISTINA BRUEHERT, as surviving Child of
RICHARD BRUEHERT, Deceased;
JO ANNE BRUEHERT on behalf of D. B., minor,
surviving Child of RICHARD BRUEHERT, Deceased;
JOHN BRUEHERT, as surviving Sibling of RICHARD
BRUEHERT, Deceased;

SUSAN E. WHELAN, Individually, as surviving Spouse,
and Personal Representative of the Estate of PATRICK
BUHSE, Deceased;
SLOAN BUHSE, as surviving Child of PATRICK
BUHSE, Deceased;
WILLIAM F. BUHSE, as surviving Child of PATRICK
BUHSE, Deceased;



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WILLIAM BUHSE, as surviving Sibling of PATRICK
BUHSE, Deceased;
THOMAS BUHSE, as surviving Sibling of PATRICK
BUHSE, Deceased;
SUANNE KAZANECKI, as surviving Sibling of
PATRICK BUHSE, Deceased;
MICHAEL BUHSE, as surviving Sibling of PATRICK
BUHSE, Deceased;

DAVID BURFORD, Individually, as surviving Parent,
and Personal Representative of the Estate of
CHRISTOPHER BURFORD, Deceased;
JEREMY M. KRIST, as surviving Stepsibling of
CHRISTOPHER BURFORD, Deceased;

JULIE BURKE, Individually, as surviving Spouse, and
Personal Representative of the Estate of THOMAS
DANIEL BURKE, Deceased;

ELIZABETH BURNS, Individually, as surviving Spouse,
and Personal Representative of the Estate of DONALD J.
BURNS, Deceased;
MICHAEL CHARLES BURNS, as surviving Child of
DONALD J. BURNS, Deceased;
PATRICK MATTHEW BURNS, as surviving Child of
DONALD J. BURNS, Deceased;
MICHAEL F. BURNS, as surviving Sibling of DONALD
J. BURNS, Deceased;
KATHLEEN BURNS REED, as surviving Sibling of
DONALD J. BURNS, Deceased;


SANDRA BURNSIDE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN P. BURNSIDE, Deceased;

NGORAN DJE, Individually, as surviving Spouse, and
Personal Representative of the Estate of IRINA BUSLO,
Deceased;

MARTHA BUTLER, Individually, as surviving Spouse,
and Personal Representative of the Estate of THOMAS M.
BUTLER, Deceased;
MARTHA BUTLER on behalf of P. T. B., minor,
surviving Child of THOMAS M. BUTLER, Deceased;




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SEAN W. BUTLER, as surviving Child of THOMAS M.
BUTLER, Deceased;
KELLY A. BUTLER, as surviving Child of THOMAS M.
BUTLER, Deceased;
EILEEN CRISTIANO, as surviving Sibling of THOMAS
M. BUTLER, Deceased;

SHARON CAHILL CASTLE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN CAHILL, Deceased;

JAMES C. CAHILL, Individually, as surviving Parent,
and Personal Representative of the Estate of SCOTT W.
CAHILL, Deceased;
LINDA CAHILL, as surviving Parent of SCOTT W.
CAHILL, Deceased;
PATRICK CAHILL, as surviving Sibling of SCOTT W.
CAHILL, Deceased;

JAMES W. CAHILL and KATHLEEN CAHILL,
Individually, as surviving Parents, and Co-Personal
Representatives of the Estate of THOMAS J. CAHILL,
Deceased;
KATHLEEN PSIROGIANES, as surviving Sibling of
THOMAS J. CAHILL, Deceased;
KERRY KERIN, as surviving Sibling of THOMAS J.
CAHILL, Deceased;
CHRISTOPHER CAHILL, as surviving Sibling of
THOMAS J. CAHILL, Deceased;

SUSAN CALCAGNO, Individually, as surviving Spouse,
and Personal Representative of the Estate of PHILIP
CALCAGNO, Deceased;

DEBORAH CALDERON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
EDWARD CALDERON, Deceased;
LLENE CALDERON, as surviving Child of EDWARD
CALDERON, Deceased;
JEREMY CALDERON, as surviving Child of EDWARD
CALDERON, Deceased;
IDA BRUNO, as surviving Parent of EDWARD
CALDERON, Deceased;
VICENTE CALDERON, as surviving Parent of
EDWARD CALDERON, Deceased;




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CAROLINE OTERO, as surviving Sibling of EDWARD
CALDERON, Deceased;
VINCENT CALDERON, JR., as surviving Sibling of
EDWARD CALDERON, Deceased;
CATHY CALDERON, as surviving Sibling of EDWARD
CALDERON, Deceased;
MARIZA CALDERON, as surviving Sibling of
EDWARD CALDERON, Deceased;
ANTHONY CALDERON, as surviving Sibling of
EDWARD CALDERON, Deceased;

JANET CALIA-DONOHUE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DOMINICK CALIA, Deceased;

VINCENT        CANGELOSI          and      MICHELLE
CANGELOSI, Individually, as surviving Parents, and Co-
Personal Representatives of the Estate of VINCENT A.
CANGELOSI, Deceased;

JACQUELINE CANNIZZARO, Individually, as
surviving Spouse, and Personal Representative of the
Estate of BRIAN CANNIZZARO, Deceased;
JACQUELINE CANNIZZARO, on behalf of C. C.,
minor, surviving Child of BRIAN CANNIZZARO,
Deceased;

LORI CAPORICCI, Individually, as surviving Spouse,
and Personal Representative of the Estate of LOUIS
CAPORICCI, Deceased;
LAUREN CAPORICCI, as surviving Child of LOUIS
CAPORICCI, Deceased;
CHRISTINA CAPORICCI, as surviving Child of LOUIS
CAPORICCI, Deceased;

JEAN CAREY, Individually, as surviving Spouse, and
Personal Representative of the Estate of DENNIS
CAREY, Deceased;

RICHARD PETER CARNEY, Individually, as surviving
Sibling, and Personal Representative of the Estate of
MARK CARNEY, Deceased;

PATRICIA CARRINGTON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JEREMY CARRINGTON, Deceased;



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TONI ANN CARROLL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PETER J. CARROLL, Deceased;
ANTHONY D. DENIRO, as surviving Stepchild of
PETER J. CARROLL, Deceased;
DANA ANN DENIRO, as surviving Stepchild of PETER
J. CARROLL, Deceased;

NANCY CARROLL, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHAEL
T. CARROLL, Deceased;
BRENDAN CARROLL, as surviving Child of MICHAEL
T. CARROLL, Deceased;
OLIVIA CARROLL, as surviving Child of MICHAEL T.
CARROLL, Deceased;
ELEANOR CARROLL, as surviving Parent of
MICHAEL T. CARROLL, Deceased;
NANCY AMIGRON, as surviving Sibling of MICHAEL
T. CARROLL, Deceased;
EILEEN NIX, as surviving Sibling of MICHAEL T.
CARROLL, Deceased;

CARLO CASORIA and JUDITH CASORIA,
Individually, as surviving Parents, and Co-Personal
Representative of the Estate of THOMAS CASORIA,
Deceased;

LEONARD A. CASTRIANNO, SR., Individually, as
surviving Parent, and Personal Representative of the
Estate of LEONARD M. CASTRIANNO, JR., Deceased;

LORRAINE SPEAR CATALANO, Individually, as
surviving Spouse, and Personal Representative of the
Estate of ROBERT W. SPEAR, JR., Deceased;

SANTA CATARELLI, Individually, as surviving Spouse,
and Personal Representative of the Estate of RICHARD
G. CATARELLI, Deceased;
SANTA CATARELLI, on behalf of A. C., minor,
surviving Child of RICHARD G. CATARELLI,
Deceased;

GINA CAYNE, Individually, as surviving Spouse, and
Personal Representative of the Estate of JASON CAYNE,
Deceased;



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MARISSA CAYNE, as surviving Child of JASON
CAYNE, Deceased;
GINA CAYNE on behalf of R. C., minor, surviving Child
of JASON CAYNE, Deceased;
SUZANN CAYNE, as surviving Child of JASON
CAYNE, Deceased;

GERALDINE CEFALU, Individually, as surviving
Parent, and Personal Representative of the Estate of
JASON CEFALU, Deceased;

BOB CHEATHAM, Individually, as surviving Spouse,
and Personal Representative of the Estate of DELROSE
FORBES CHEATHAM, Deceased;

SUK TAN CHIN, Individually, as surviving Sibling, and
Personal Representative of the Estate of ROBERT CHIN,
Deceased;
PAK HO CHIN, as surviving Parent of ROBERT CHIN,
Deceased;
YUET LING CHIN, as surviving Parent of ROBERT
CHIN, Deceased;

EDWARD CIAFARDINI, Individually, as surviving
Parent, and Personal Representative of the Estate of
CHRISTOPHER CIAFARDINI, Deceased;
MAGGIE CIAFARDINI, as surviving Parent of
CHRISTOPHER CIAFARDINI, Deceased;
DOMINIC CIAFARDINI, as surviving Sibling of
CHRISTOPHER CIAFARDINI, Deceased;

LISA DILALLO CLARK, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS R. CLARK, Deceased;

YUKO CLARK, Individually, as surviving Spouse, and
Personal Representative of the Estate of GREGORY A.
CLARK, Deceased;

TANYA KIM DAVIS, Individually, as surviving Child,
and Personal Representative of the Estate of MANNIE L.
CLARK, Deceased;

ROBERT CLARK, Individually, as surviving Sibling, and
Personal Representative of the Estate of EUGENE
CLARK, Deceased;



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KATHLEEN L. CLARKE HEAD, as surviving Sibling of
CHRISTOPHER R. CLARKE, Deceased;
KELLY A. CLARKE, as surviving Sibling of
CHRISTOPHER R. CLARKE, Deceased;
PATRICIA CLARKE SCUDDER, as surviving Sibling of
CHRISTOPHER R. CLARKE, Deceased;
TIMOTHY J. CLARKE, as surviving Sibling of
CHRISTOPHER R. CLARKE, Deceased;
TRACEY CLARKE OSBORNE, as surviving Sibling of
CHRISTOPHER R. CLARKE, Deceased;

JOHN F. CLARKE, Individually, as surviving Parent, and
Personal Representative of the Estate of MICHAEL
CLARKE, Deceased;

CHARLES CLYNE, Individually, as surviving Spouse,
and Personal Representative of the Estate of SUSAN M.
CLYNE, Deceased;
MICHAEL CLYNE, as surviving Child of SUSAN M.
CLYNE, Deceased;
MARIE S. CLYNE, as surviving Child of SUSAN M.
CLYNE, Deceased;
KEVIN P. CLYNE, as surviving Child of SUSAN M.
CLYNE, Deceased;
TIMOTHY D. CLYNE, as surviving Child of SUSAN M.
CLYNE, Deceased;
GRACE DIETRICH, as surviving Parent of SUSAN M.
CLYNE, Deceased;
KURT H. DIETRICH, as surviving Sibling of SUSAN M.
CLYNE, Deceased;
LINDA G. CREAMER, as surviving Sibling of SUSAN
M. CLYNE, Deceased;
GRACE DIETRICH, as Personal Representative of the
Estate of HENRY K. DIETRICH, Deceased, surviving
Parent of SUSAN M. CLYNE, Deceased;

VINCENT COAKLEY and CAROLINE COAKLEY,
Individually, as surviving Parents, and Co-Personal
Representatives of the Estate of STEVEN COAKLEY,
Deceased;

FRANCES M. COFFEY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DANIEL M. COFFEY, Deceased;




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FRANCES M. COFFEY, Individually, as surviving
Parent, and Personal Representative of the Estate of
JASON COFFEY, Deceased;

SUSAN HUTCHINS, Individually, as surviving Parent,
and Personal Representative of the Estate of KEVIN
COLBERT, Deceased;
ANDREW COLBERT, as surviving Sibling of KEVIN
COLBERT, Deceased;
MATTHEW CARROLL, as surviving Sibling of KEVIN
COLBERT, Deceased;
ALEXANDER CARROLL, as surviving Sibling of
KEVIN COLBERT, Deceased;

MARYANN COLIN, Individually, as surviving Spouse,
and Personal Representative of the Estate of ROBERT D.
COLIN, Deceased;

JULIA COLLINS, Individually, as surviving Spouse, and
Personal Representative of the Estate of THOMAS J.
COLLINS, Deceased;

WARREN COLODNER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
PATRICIA COLODNER, Deceased;

BENITO COLON, Individually, as surviving Spouse, and
Personal Representative of the Estate of SOL E. COLON,
Deceased;

PATRICIA COPPO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOSEPH J.
COPPO, JR., Deceased;
KATHLEEN N. ZAPATA, as surviving Child of JOSEPH
J. COPPO, JR., Deceased;

FELICIA CORBETT JONES, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOSEPH CORBETT, Deceased;

LAURIE S. LAUTERBACH, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CARLOS CORTES-RODRIGUEZ, Deceased;




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PAULA COTTOY HAYES, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CONROD COTTOY, SR., Deceased;

PATRICIA COUGHLIN, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN G. COUGHLIN, Deceased;
ERIN COUGHLIN, as surviving Child of JOHN G.
COUGHLIN, Deceased;
TARA COUGHLIN, as surviving Child of JOHN G.
COUGHLIN, Deceased;
KAYLE COUGHLIN, as surviving Child of JOHN G.
COUGHLIN, Deceased;

DENNIS EULAU, Individually, as surviving Spouse, and
Personal Representative of the Estate of MICHELE
COYLE-EULAU, Deceased;
MATTHEW EULAU, as surviving Child of MICHELE
COYLE-EULAU, Deceased;
MARK EULAU, as surviving Child of MICHELE
COYLE-EULAU, Deceased;
DENNIS EULAU on behalf of E. E., minor, surviving
Child of MICHELE COYLE-EULAU, Deceased;

JOHN T. CRANT, Individually, as surviving Sibling, and
Personal Representative of the Estate of DENISE T.
CRANT, Deceased;
JOHN T. CRANT and SHELLEY CRANT-BAGGOT as
Co-Personal Representatives of the Estate of HILDA E.
CRANT, Deceased, surviving Parent of DENISE T.
CRANT, Deceased;
JOHN T. CRANT and SHELLEY CRANT-BAGGOT as
Co-Personal Representatives of the Estate of ELLIS W.
CRANT, Deceased, surviving Parent of DENISE T.
CRANT, Deceased;
ELLIS W. CRANT, JR., as surviving Sibling of DENISE
T. CRANT, Deceased;
SHELLEY CRANT-BAGGOT, as surviving Sibling of
DENISE T. CRANT, Deceased;

LISA B. CRAWFORD, Individually, as surviving Spouse,
and Personal Representative of the Estate of JAMES L.
CRAWFORD, JR., Deceased;
LISA B. CRAWFORD on behalf of I. C., minor, surviving
Child of JAMES L. CRAWFORD, JR., Deceased;




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ELIZABETH CRAWFORD, as surviving Parent of
JAMES L. CRAWFORD, JR., Deceased;
JIM CRAWFORD, as surviving Parent of JAMES L.
CRAWFORD, JR., Deceased;
ELIZABETH VAN DUNYE, as surviving Sibling of
JAMES L. CRAWFORD, JR., Deceased;
LESLIE CRAWFORD DUNLEVY, as surviving Sibling
of JAMES L. CRAWFORD, JR., Deceased;

BERNARD PHAIR, as Personal Representative of the
Estate of JOANNE CREGAN, Deceased;

FRANK CRIFASI, Individually, as surviving Sibling, and
Personal Representative of the Estate of LUCY CRIFASI,
Deceased;

JOANN CROSS, Individually, as surviving Spouse, and
Personal Representative of the Estate of DENNIS A.
CROSS, Deceased;

MARIANNE CRUIKSHANK, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ROBERT CRUIKSHANK, Deceased;

ILDEFONSO A. CUA, Individually, as surviving Spouse,
and Personal Representative of the Estate of GRACE
CUA, Deceased;

LINDA CURIA, Individually, as surviving Spouse, and
Personal Representative of the Estate of LAURENCE
CURIA, Deceased;

FREDERICK CURRY, Individually, as surviving Spouse,
and Personal Representative of the Estate of BEVERLY
CURRY, Deceased;

DAVID E. CUSHING, Individually, as surviving Child,
and Personal Representative of the Estate of PATRICIA
CUSHING, Deceased;
THOMAS F. CUSHING, as surviving Child of
PATRICIA CUSHING, Deceased;
PEGEEN CUSHING, as surviving Child of PATRICIA
CUSHING, Deceased;
JOHN CUSHING, as surviving Child of PATRICIA
CUSHING, Deceased;




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LOUANNE BAILY, Individually, as surviving Spouse,
and Personal Representative of the Estate of BRIAN P.
DALE, Deceased;
JACOB E. DALE, as surviving Child of BRIAN P.
DALE, Deceased;
LOUANNE BAILY on behalf of R. T. D., minor,
surviving Child of BRIAN P. DALE, Deceased;
LOUANNE BAILY on behalf of R. B. D., minor,
surviving Child of BRIAN P. DALE, Deceased;

LOUISA D'ANTONIO, Individually, as surviving Child,
and Personal Representative of the Estate of MARY
D'ANTONIO, Deceased;
ELIZABETH D'ANTONIO, as surviving Child of MARY
D'ANTONIO, Deceased;
ANTONIO D'ANTONIO, as surviving Spouse of MARY
D'ANTONIO, Deceased;

ANGELA DANZ-DONOHUE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
VINCENT DANZ, Deceased;
EMILY DANZ, as surviving Child of VINCENT DANZ,
Deceased;
ANGELA DANZ-DONOHUE on behalf of A. D., minor,
as surviving Child of VINCENT DANZ, Deceased;

PATRICIA DEAN, Individually, as surviving Spouse, and
Personal Representative of the Estate of WILLIAM
DEAN, Deceased;
PATRICIA DEAN on behalf of C. A. D., minor, surviving
Child of WILLIAM DEAN, Deceased;
MARK DEAN, as surviving Stepsibling of WILLIAM
DEAN, Deceased;
MALCOLM DEAN, SR., as surviving Parent of
WILLIAM DEAN, Deceased;
DONNA DEAN, as surviving Sibling of WILLIAM
DEAN, Deceased;

PATRICIA J. DEANGELIS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
THOMAS P. DEANGELIS, Deceased;
DONNA SMOLLEN, as surviving Sibling of THOMAS
P. DEANGELIS, Deceased;




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ERNESTO BARRERA, Individually, as surviving
Spouse, and Personal Representative of the Estate of ANA
DEBARRERA, Deceased;

MARION DEBLASE, Individually, as surviving Spouse,
and Personal Representative of the Estate of JAMES V.
DEBLASE, JR., Deceased;
NICHOLAS DEBLASE, as surviving Child of JAMES V.
DEBLASE, JR., Deceased;
JOSEPH DEBLASE, as surviving Child of JAMES V.
DEBLASE, JR., Deceased;

BERIL-SOFIA DEFEO CIRINELLI, Individually, as
surviving Spouse, and Personal Representative of the
Estate of DAVID DEFEO, Deceased;

WANDA HERNANDEZ, Individually, as surviving
Parent, and Personal Representative of the Estate of
MONIQUE E. DEJESUS, Deceased;

JAMES DELLA BELLA, Individually, as surviving
Child, and Personal Representative of the Estate of
ANDREA DELLA BELLA, Deceased;
JAMES DELLA BELLA, as Personal Representative of
the Estate of VINCENT DELLA BELLA, Deceased,
surviving Spouse, and ANDREA DELLA BELLA,
Deceased, Deceased;
DAVID LUN, as surviving Sibling of ANDREA DELLA
BELLA, Deceased;

CHRISTOPHER DELLA PIETRA, Individually, as
surviving Sibling, and Personal Representative of the
Estate of JOSEPH DELLA PIETRA, Deceased;

MICHAEL DELOUGHERY, Individually, as surviving
Spouse, and Personal Representative of the Estate of
COLLEEN ANN DELOUGHERY, Deceased;
MICHAEL DELOUGHERY, as surviving Child of
COLLEEN ANN DELOUGHERY, Deceased;
AMANDA DELOUGHERY, as surviving Child of
COLLEEN ANN DELOUGHERY, Deceased;
PATRICIA MARRESE, as surviving Sibling of
COLLEEN ANN DELOUGHERY, Deceased;
JOSEPH MCNULTY, as surviving Sibling of COLLEEN
ANN DELOUGHERY, Deceased;




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VIVI DEMAS, Individually, as surviving Spouse, and
Personal Representative of the Estate of ANTHONY
DEMAS, Deceased;

BROOKE DEMING, Individually, as surviving Spouse,
and Personal Representative of the Estate of FRANCIS
DEMING, Deceased;

CURTIS F. BREWER, Individually, as surviving Spouse,
and Personal Representative of the Estate of CAROL K.
DEMITZ, Deceased;
ANNE K. BREWER, as surviving Child of CAROL K.
DEMITZ, Deceased;
CHARLES DEMITZ, as surviving Sibling of CAROL K.
DEMITZ, Deceased;
WOODY DEMITZ, as surviving Sibling of CAROL K.
DEMITZ, Deceased;
MICHAEL DEMITZ, as surviving Sibling of CAROL K.
DEMITZ, Deceased;
SUSAN DEMITZ, as surviving Sibling of CAROL K.
DEMITZ, Deceased;

CHRISTEL DESIMONE, Individually, as surviving
Parent, and Personal Representative of the Estate of
CHRISTIAN DESIMONE, Deceased;
MARTIN DESIMONE-CALISO, as surviving Sibling of
CHRISTIAN DESIMONE, Deceased;

TODD DEVITO, Individually, as surviving Child, and
Personal Representative of the Estate of JERRY DEVITO,
Deceased;

JOYCE DEVITT, Individually, as surviving Parent, and
Personal Representative of the Estate of ROBERT
DEVITT, JR., Deceased;

DONNA DI AGOSTINO, Individually, as surviving
Spouse, and Personal Representative of the Estate of
MICHAEL DI AGOSTINO, Deceased;
DONNA DI AGOSTINO on behalf of C. D. A., minor, as
surviving Child of MICHAEL DI AGOSTINO, Deceased;
PAULINE DI AGOSTINO, as surviving Child of
MICHAEL DI AGOSTINO, Deceased;
CARLA DI AGOSTINO, as Personal Representative of
the Estate of CARLO DI AGOSTINO, Deceased,




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surviving Parent of MICHAEL DI AGOSTINO,
Deceased;
CLARA DI AGOSTINO, as surviving Parent of
MICHAEL DI AGOSTINO, Deceased;
JULIE MAGLIULO, as surviving Sibling of MICHAEL
DI AGOSTINO, Deceased;
PAUL DI AGOSTINO, as surviving Sibling of
MICHAEL DI AGOSTINO, Deceased;
CARL DI AGOSTINO, as surviving Sibling of
MICHAEL DI AGOSTINO, Deceased;
FRANK DI AGOSTINO, as surviving Sibling of
MICHAEL DI AGOSTINO, Deceased;

LEONEL DIAZ, Individually, as surviving Sibling, and
Personal Representative of the Estate of NANCY DIAZ,
Deceased;
AMANDA MARTINEZ DIAZ, as surviving Sibling of
NANCY DIAZ, Deceased;
CARMEN DIAZ, as surviving Sibling of NANCY DIAZ,
Deceased;
LEOCADIO DIAZ, as surviving Sibling of NANCY
DIAZ, Deceased;
BELKYS DIAZ, as surviving Sibling of NANCY DIAZ,
Deceased;

MARIA DI PILATO, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOSEPH DI
PILATO, Deceased;
LEO DI PILATO, as surviving Child of JOSEPH DI
PILATO, Deceased;
JOSEPH DI PILATO, as surviving Child of JOSEPH DI
PILATO, Deceased;

JEFFREY SCHORPP, Individually, as surviving Spouse,
and Personal Representative of the Estate of MARISA
DINARDO SCHORPP, Deceased;

JOAN DINCUFF and FRANK DINCUFF, Individually,
as surviving Parents, and Co-Personal Representatives of
the Estate of CHRISTOPHER DINCUFF, Deceased;
BETH       DINCUFF,      as   surviving    Sibling    of
CHRISTOPHER DINCUFF, Deceased;
AMY       DINCUFF,       as   surviving   Sibling     of
CHRISTOPHER DINCUFF, Deceased;




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ANDY DINNOO, Individually, as surviving Spouse, and
Personal Representative of the Estate of RENA DINNOO,
Deceased;
DHANMATEE SAM, as surviving Parent of RENA
DINNOO, Deceased;
CLARENCE SAM, as surviving Parent of RENA
DINNOO, Deceased;
LISA SAM, as surviving Sibling of RENA DINNOO,
Deceased;
GINA SAM, as surviving Sibling of RENA DINNOO,
Deceased;

DAVID DISTEFANO, Individually, as surviving Sibling,
and Personal Representative of the Estate of DOUGLAS
DISTEFANO, Deceased;

STACEY DOLAN, Individually, as surviving Spouse, and
Personal Representative of the Estate of BRENDAN
DOLAN, Deceased;

JOSEPH R. DOWNEY, Individually, as surviving child,
and Personal Representative of the Estate of RAYMOND
M. DOWNEY, Deceased;
ROSALIE B. DOWNEY, as surviving Spouse of
RAYMOND M. DOWNEY, Deceased;
MARIE ANN TORTORICI, as surviving Child of
RAYMOND M. DOWNEY, Deceased;
CHARLES R. DOWNEY, as surviving Child of
RAYMOND M. DOWNEY, Deceased;
RAYMOND DOWNEY, as surviving Child of
RAYMOND M. DOWNEY, Deceased;
KATHY A. UGALDE, as surviving Child of RAYMOND
M. DOWNEY, Deceased;

JAY C. DUNNE and MARY DUNNE, Individually, as
surviving Parents, and Co-Personal Representatives of the
Estate of CHRISTOPHER J. DUNNE, Deceased;
COURTNEY DUNNE-KEENAN, as surviving Sibling of
CHRISTOPHER J. DUNNE, Deceased;
CYNTHIA DUNNE-WELCH, as surviving Sibling of
CHRISTOPHER J. DUNNE, Deceased;
CHARLES DUNNE, as surviving Sibling of
CHRISTOPHER J. DUNNE, Deceased;




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LIDIA HERNANDEZ MELENDEZ, Individually, as
surviving Parent, and Personal Representative of the
Estate of MIRNA A. DUARTE, Deceased;

GAIL EAGLESON, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOHN B.
EAGLESON, Deceased;
BRETT EAGLESON, as surviving Child of JOHN B.
EAGLESON, Deceased;
KYLE EAGLESON, as surviving Child of JOHN B.
EAGLESON, Deceased;
TIMOTHY EAGLESON, as surviving Child of JOHN B.
EAGLESON, Deceased;
WILLIAM EAGLESON, as surviving Sibling of JOHN B.
EAGLESON, Deceased;

STANLEY ECKNA, Individually, as surviving Parent,
and Personal Representative of the Estate of PAUL
ECKNA, Deceased;
CAROL ECKNA, as surviving Parent of PAUL ECKNA,
Deceased;
RICHARD ECKNA, as surviving Sibling of PAUL
ECKNA, Deceased;
STEVEN ECKNA, as surviving Sibling of PAUL
ECKNA, Deceased;

DAVID EGAN, Individually, as surviving Parent, and
Personal Representative of the Estate of LISA E. EGAN,
Deceased;

DAVID EGAN, Individually, as surviving Parent, and
Personal Representative of the Estate of SAMANTHA M.
EGAN, Deceased;

PAULA SHAPIRO, Individually, as surviving Parent, and
Personal Representative of the Estate of ERIC
EISENBERG, Deceased;

SAM ELLIS, Individually, as surviving Spouse, and
Personal Representative of the Estate of VALERIE S.
ELLIS, Deceased;

EILEEN ERWIN-MICHAEL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
WILLIAM ERWIN, Deceased;




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LUIS ESPINOZA, Individually, as surviving Spouse, and
Personal Representative of the Estate of FANNY
ESPINOZA, Deceased;
CHRISTIAN ESPINOZA, as surviving Child of FANNY
ESPINOZA, Deceased;
STEPHANIE ESPINOZA, as surviving Child of FANNY
ESPINOZA, Deceased;

JEANNE M. EVANS, Individually, as surviving Sibling,
and Personal Representative of the Estate of ROBERT
EVANS, Deceased;

LAURA FALLON, Individually, as surviving Spouse, and
Personal Representative of the Estate of WILLIAM
FALLON, JR., Deceased;
KATHLEEN FALLON, as surviving Child of WILLIAM
L. FALLON, JR., Deceased;
KAYLA FALLON, as surviving Child of WILLIAM L.
FALLON, JR., Deceased;

PATRICIA FALLONE, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANTHONY FALLONE, Deceased;

MAUREEN FANNING, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN FANNING, Deceased;

AMY FARNUM POLMAR, Individually, as surviving
Spouse, and Personal Representative of the Estate of
DOUGLAS FARNUM, Deceased;

MARYANNE FARRELL, Individually, as surviving
Spouse, and Personal Representative of the Estate of
JOHN FARRELL, Deceased;

MELISSA VAN NESS FATHA, Individually, as
surviving Spouse, and Personal Representative of the
Estate of SYED ABDUL FATHA*, Deceased;
SYED ABDUL RAHMAN, as surviving Sibling of SYED
ABDUL FATHA*, Deceased;

STEVEN FEIDELBERG, Individually, as surviving
Sibling, and Personal Representative of the Estate of
PETER FEIDELBERG, Deceased;




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WENDY S. FEINBERG, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ALAN D. FEINBERG, Deceased;
MICHAEL FEINBERG, as surviving Child of ALAN D.
FEINBERG, Deceased;
TARA FEINBERG EDGETTE, as surviving Child of
ALAN D. FEINBERG, Deceased;

MARY L. FERGUSON, Individually, as surviving
Spouse, and Personal Representative of the Estate of
GEORGE J. FERGUSON, III, Deceased;
MATTHEW FERGUSON, as surviving Child of
GEORGE J. FERGUSON, III, Deceased;

JULIO C. FERNANDEZ, Individually, as surviving
Child, and Personal Representative of the Estate of JULIO
FERNANDEZ, Deceased;

CHARLENE FIORE, Individually, as surviving Spouse,
and Personal Representative of the Estate of MICHAEL J.
FIORE, Deceased;
JESSICA FIORE LACASSE, as surviving Child of
MICHAEL J. FIORE, Deceased;
CRISTEN FIORE STAIANO, as surviving Child of
MICHAEL J. FIORE, Deceased;
MICHAEL FIORE, as surviving Child of MICHAEL J.
FIORE, Deceased;

JEAN C. FISCHER, Individually, as surviving Spouse,
and Personal Representative of the Estate of JOHN
FISCHER, Deceased;

BRIAN FLANNERY, Individually, as surviving Spouse,
and Personal Representative of the Estate of CHRISTINA
FLANNERY, Deceased;
CATHERINE DONOVAN, as surviving Parent of
CHRISTINA FLANNERY, Deceased;
WILLIAM DONOVAN, as surviving Parent of
CHRISTINA FLANNERY, Deceased;

LORI FLETCHER, Individually, as surviving Spouse, and
Personal Representative of the Estate of ANDRE
FLETCHER, Deceased;




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NANCY WALSH, Individually, as surviving Partner, and
Co-Personal Representative of the Estate of CAROL
FLYZIK, Deceased;
CLAUDIA FLYZIK, Individually, as surviving Sibling,
and Co-Personal Representative of the Estate of CAROL
FLYZIK, Deceased;
KEVIN WALSH, as surviving Stepchild of CAROL
FLYZIK, Deceased;
JOSEPH WALSH, as surviving Stepchild of CAROL
FLYZIK, Deceased;
KRISTIN WALSH, as surviving Stepchild of CAROL
FLYZIK, Deceased;

JOANNE GROSS, Individually, as surviving Sibling, and
Personal Representative of the Estate of THOMAS
FOLEY, Deceased;

ROBERT T. FOLGER, Individually, as surviving Child,
and Personal Representative of the Estate of JANE
FOLGER, Deceased;
KATHLEEN KULIK, as surviving Child of JANE
FOLGER, Deceased;
THOMAS FOLGER, as surviving Child of JANE
FOLGER, Deceased;
MICHAEL FOLGER, as surviving Child of JANE
FOLGER, Deceased;

MARIAN FONTANA, Individually, as surviving Spouse,
and Personal Representative of the Estate of DAVID J.
FONTANA, Deceased;

KURT FOSTER, Individually, as surviving Spouse, and
Personal Representative of the Estate of CLAUDIA
FOSTER, Deceased;

TIERNEY FRAWLEY TRAMONTOZZI, Individually,
as surviving Spouse, and Personal Representative of the
Estate of KEVIN FRAWLEY, Deceased;

JEANINE L. FRAZIER, Individually, as surviving
Spouse, and Personal Representative of the Estate of
CLYDE FRAZIER, JR., Deceased;

MICHELLE FREDERICKS, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANDREW FREDERICKS, Deceased;



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ANDREW J. FREDERICKS, as surviving Child of
ANDREW FREDERICKS, Deceased;
HAYLEY FREDERICKS, as surviving Child of
ANDREW FREDERICKS, Deceased;

ROBIN A. FREUND, Individually, as surviving Spouse,
and Personal Representative of the Estate of PETER L.
FREUND, Deceased;
JULIE A. FREUND, as surviving Child of PETER L.
FREUND, Deceased;

KENNETH FRIED, Individually, as surviving Spouse,
and Personal Representative of the Estate of ARLENE
FRIED, Deceased;

HELEN FRIEDLANDER DEL SINDACO, Individually,
as surviving Spouse, and Personal Representative of the
Estate of ALAN W. FRIEDLANDER, Deceased;
STEVEN A. FRIEDLANDER, as surviving Child of
ALAN W. FRIEDLANDER, Deceased;

LISA FRIEDMAN-CLARK, Individually, as surviving
Spouse, and Personal Representative of the Estate of
ANDREW FRIEDMAN, Deceased;
MIKE FRIEDMAN, as surviving Child of ANDREW
FRIEDMAN, Deceased;
DAN FRIEDMAN, as surviving Child of ANDREW
FRIEDMAN, Deceased;
WENDI GABRIELI, as surviving Sibling of ANDREW
FRIEDMAN, Deceased;


MEREDITH FRY, Individually, as surviving Spouse, and
Personal Representative of the Estate of PETER FRY,
Deceased;
TAYLOR MCCLINTOCK FRY, as surviving Child of
PETER FRY, Deceased;
CALEY LOOMIS FRY, as surviving Child of PETER
FRY, Deceased;
CHARLES GORDON FRY, as surviving Parent of
PETER FRY, Deceased;
MICHAEL FRY, as surviving Sibling of PETER FRY,
Deceased;
LANCE FRY, as surviving Sibling of PETER FRY,
Deceased;




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